             Case 3:20-cv-00738-KAD Document 367 Filed 03/30/23 Page 1 of 1
                                   UNITED STATES DISTRICT COURT
                                     DISTRICT OF CONNECTICUT




 Universitas Education, LLC

 vs.                                                                                  3:20cv738 (JAM)

 Benistar et al




                                   ORDER RETURNING SUBMISSION


We have received your filing, however, it is deficient in the area(s) checked below:

☒ Our records indicate you are represented by counsel in this matter. Therefore, all filings must be
made by the attorney of record.

☐ Plaintiff is restricted from filing a new complaint in this district, without prior leave of the Court.

☐ Your pro se appearance is being returned because the rights of self-representation and
representation by counsel cannot be both exercised at the same time. (See O’Reilly v. New York
Times Co., 692 F.2d 863, 868 (2d Cir. 1982.)

☐ Other: Click or tap here to enter text.


The Clerk is hereby ORDERED to return the above document.


3/30/2023
                                                             /s/ Jeffrey Alker Meyer
  Date                                                       Choose a Judge's Title


( DL )




Rev 3-4-22
